Case 4:11-cr-50009-DCB-HCE Document3 _ Filed 01/11/11__Dage 1 of 2 __
Prob!2.4rm » aw’ LRCrim. 5.1 APPLICABLE: RELAT} AS CRQ?457-001-TUC-DCB(HCE) Onn

(Rev. 10/00) RECEIVED CURY °
UNITED STATES DISTRICT cqurt) I | n |
for -
CLERK US DISTRICT &
DISTRICT OF ARIZONA DISTRICT OF ARIZONA mu
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United States v. Gabriel Torres-Gomez Docket / [- UR -500 Od- D HEE)

(AKA: Heriberto Salazar-Torres)

Petition to Revoke Supervised Release Cr A
©) lawl S|

COMES NOW PROBATION OFFICER Beatriz Castillo presenting an official report on Gabriel
Torres-Gomez who was committed to the Bureau of Prisons for 343 days or time served, whichever is less, on
March 31, 2010, by the Honorable C. LeRoy Hansen, presiding in the District Court of New Mexico. A 36-
month term of supervised release was imposed, and supervision commenced upon the offender's discharge
from imprisonment on March 31, 2010.

Torres-Gomez was convicted of Possession with Intent to Distribute Heroin, 21 U.S.C. § 841(a)(1) and
(b)(1)(C), a Class C felony.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS:

Violation of Mandatory Condition: The defendant shall not commit another federal, state, or local
crime.

On or prior to August 24, 2010, the defendant violated 8 U.S.C. § 1326. The crime is punishable by a term of
imprisonment exceeding one year and therefore constitutes a Grade B violation. §7B1.1(a)(2)

Evidence supporting the alleged violation consists of records confirming the defendant's deportation on April
2, 2010, through Del Rio, Texas, and records verifying he entered, attempted to enter, or was found in the
United States without authorization on August 24, 2010, when he was arrested by immigration officials near
Pia Oik within the District of Arizona.

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Page 2 Case 4:11-cr-50009-DCB-HCE Document3 _ Filed 01/11/11 Page 2 of 2
U.S.A. v. Torres-Gomez, Gabriel ow

(AKA: Heriberto Salazar-Torres) .
Docket IE CK- 50004 = DAW )

AFFIDAVIT AND PETITION PRAYING THAT THE COURT WILL ORDER A WARRANT BE
ISSUED

In conformance with the provision of 28 U.S.C. § 1746, I declare, under penalty of perjury, that the foregoing
is true and correct to the best of my knowledge. Based on the information presented that the offender has
violated conditions of supervision, I am petitioning the Court to accept jurisdiction from the District of New
Mexico and to issue a warrant for Gabriel Torres-Gomez.

January 7, 2011
Beatriz Castillo Date
U.S. Probation Officer Assistant

Office: (520) 205-4412

Cellular: (520) 631-7621

Reviewed by
Zino Wrens January 7, 2011
J. Viiice Romero Date

Supervisory U.S. Probation Officer
Office: (520) 205-4466
Cellular: (520) 869-9354

ORDER OF COURT

I find there is probable cause to believe the offender has violated conditions of supervision, supported by the
above affirmation given under penalty of perjury. The Court accepts jurisdiction from the District of New
Mexico. The Courtorders the issuance of a warrant for Gabriel Torres-Gomez. Considered and ordered this _
_( day of Son ,201( , and ordered filed and made a part of the records in the above case.

The Honorable David C
U.S. District E

Defense Counsel:

Wanda K. Day (To be appointed)
Post Office Box 86840

Tucson, Arizona 85754

(520) 791-9630

